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                    UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF IDAHO

 MELISSA WALTON, individually and         Case No. 1:23-cv-478-CWD
 as successor in interest to ZACHARY
 SNOW,                                    NOTICE OF SETTLEMENT AND
                                          PENDING MOTION
                           PLAINTIFF,
    vs.

  CITY OF BOISE; OFFICER M.
  JACOBS; OFFICER C.
  SNODDERLY; and DOES 1-10


  DEFENDANTS.



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      TO THE HONORABLE COURT, AND ALL OTHER INTERESTED

PARTIES

      COMES NOW Plaintiff MELISSA WALTON, by and through her counsel

of record, provide Notice of Settlement and Pending Motion, and in support thereof,

state as follows:

      1.      Plaintiff previously provided notice to the Court that the parties were

scheduled to mediate the claims in the pending State action on January 16, 2024.

      2.      The Parties reached a settlement agreement in principle as to the

resolution of the subject matter of this litigation in the pending State proceedings,

and as to all Parties and claims on or about January 16, 2024.

      2. However, an issue has arisen as to the specific terms of the settlement

agreement, and Ms. Walton has filed a motion to enforce the settlement agreement

with the Ada County District Court CV01-22-14697 that will not be heard until April

24, 2024. It is anticipated that all issues surrounding the settlement will be resolved

through this hearing, but until that occurs, Plaintiff is unable to dismiss this pending

action.

      WHEREFORE, Plaintiff respectfully requests that the Court should not

dismiss this action or set further hearing until after the motion has been heard and a

settlement has been fully executed.



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                                Dated: February 21, 2024


                                 CRAIG SWAPP & ASSOCIATES

                                 _________________________________
                                 ERIN C. DYER
                                 Attorney for Plaintiff




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